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      lnefield, Gayla, PR                                 Lincoln County                                 DV-:-96-170.                             10/2/97 at 11 :35 .
       r·r Margaret Vatland                               District Court, 19th                                                                    a.m.
      Wright, Andrew                                      Judicial Court                                 DV-96-169
      v. W.R. Grace
      Benefield, Gayla, PR                               Lincoln County .                               DV-96-170                                 10/2/97 at 2:25 p.m.
      for Margaret Vatland                               DistricfCourt,,19 th .
      Wright, Andrew                                     Judicial Court                                 DV-96-169                                        ..
      v. W.R.Grace
     Benefield, Gayla, PR                               Lincoln County                                 DV-96~170                                  Continued from
     for Margaret Vatland                               District Courti 19th                                                                      12/2/97 held on
     Shearer, Wilma                                     Judicial Court                                 DV-97-140                                  3/4/98 at .,1:35. p.m.
     Lyle, John                                                                                        DV-95-29
     v. W.A. Grace                                                                                                                           ..                                 .-


     Benefield, Gayla, PR                              Lincoln. County                                 DV-96-170                                  3/4/98 at 2:00p.m.
     for Margaret Vatland                              D.rstHct Court,19 th
     Shearer, Wilma                                    Judicial Court                                  DV:'97-140
     Lyle, John                                                                                        DV~95·29
                                                                                          ..
     v. W.R. Grace
   'inefieJd, Gayla, PR   Lincoln Coi.,mty                                                         . DV-96-170                               ·3/4/98 at 5:10p.m .
     ,or
       Margaret Vat/and· .District Court, 19th
  .Shearer, Wilma         JudiCial Court                                                               DV-97-140
 . Lyle, John                                                                                          DV-95-29
   v. W.R. Grace
  Alsbury, Frederick.                                 Lincoln C·ounty                                  DV-97-102                             ' 5/27/98
                                                     .District Court, '19 th .
                                                      Judicial Court
  DeShazer, Thomas                                                                                                                                5/27/98


. Smith,· Beryl, PR for                              .Lincoln County                               DV-97-119                                  10/19/98 at 11 :00
  Rex E. Smith v: W~R.                                District Court, 19th                                                                    a.m.
  Grace                                               Judicial Court
 Benefield, Gayla, PR                                Lincoln County                                DV-96-170                                  10/19/98 at 1:30
 for Margaret Vatland                                District Court, 19 th .                                                                  p.m.
 v. ·W.A. Grace                                      Judicial Court                                                                                                        ..




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       ,earer, Wilma                              Lincoln County                    DV~97-140                                                  1O/19/9B at 5:30
       .. W.R. Grace                              District Court, 19 th                                                                       p.m.
                                                  Judtcial Court
      Troyer i Dianai PR for                     Lincoln. County                    DV-97-119                                                 1/,.8/99 at 2:00 p.m.
      Rex E. Smith v.W.R.                        District Court, 19th
      Grace                                      Judicial Court                                                                                                               ..
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      Graham, Carol, PR of                       Lincoln County                     Cause No. DV-98-72                                        1/22/99·
      Robert Graham·,                            District Court, 19 th
      Deceased                                   Judicial Court
      v. W.R. Grace
   .Schull, Bill                                  Lincoln County                    DV-98-138                                                 3/19/99
                                                                                                                                .'
    Finstad, . Kenneth R.                        .District Court, 19th .            DV-98-139
    Gaston, Edward                              . Judicial COiJrt                   DV,.98-142
    v. W.R. Grace ..
                                       ,.




   Wilkins v. W.R. Grace                        Lincoln County                  Cause No. DV-98-·                                             6/11/99
                                                District Court, 19th            .135
                                                Judicial Court ..'
 . )arner, Edgar                                Lincoln County                  DV~96-5                                                       10/1/99
   Cannon, Stuart                               District Court,. 19th          DV-96"11
   Cr.aig, Carl·                                Judicial Court •               DV-97-153
  Albert, Mary v.                                                              DV-97-87                                                                                   ..,

  W.R. Grace
  Warner, Edgar v.                              Lincoln County·                DV-96-5                                                        10/8/99
  W.R. Grace                                    District Court, 19th •         .,

                                                Judicial Court                                              ,   .                                    '   ..


  Wilkes, Robert                            Lincoln County                     'Cause No. DV-96-60                                      ·12/3/99 8:30 a.m.
  v. W.R. Grace                             District Court, 19 th                                                                                             , .

                                            Judicial Court
  Nelson, Robert                            Lincoln County                     Cause No. DV-98-                                           12/3/99 10:45 a.m.
  v. W.R. Grace                             District Court, 19th               107
                                            Judicial Court
 Ryan, Royce                                Lincoln County                     Cause No. DV-98-                                           12/3/99 12:30 p.m.
 v. W.R. Grace·                             District Court, 19th               100
                                            Judicial Court' ,
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          Wilkes, Robert                  ~in~9.I.r1 ..9.Q.u.J1ty .    DV-96-60 ----                    Consolidated
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          Ryan, Robe"rt"--c,'             District Court, "T91 / l " - bV':'98.:100.
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                                                                                                        12/3/998:30a.m.
          )Ison, Robert.                  Judicial Court               DV';98-107.
          v. W.R. Grace
          Nelson, Robert                 Lincoln County                  DV-98-108                      ·1/10/00
          Ryan, Royce                    District Court, 19th .          DV-98-100
          v. W:R. Grace                  Judicial Court
         .Dedrick; Carrie                Lincoln County                 .DV-99124                       9/29700
          Hopkins; James                 District Court~ 19th            DV-99·124
         v. W.R. Grace                   Judicial Court
         Wilkins v. Continental         Workers'Comp. Ct               . : WCC No. 2002-0539 . 8/2/02·
         Casualty
         U.S. v. Grace                  U.S; District Court            . CV~01-72-M""DWM                9/6/02
                                        Missoula
                                                .      .      .
         Fellenberg v.                  Workers' Compo Ct               wec No. 2002-0704               5/12/03
         Transporation Ins. ·
     Crill, Harold v.                   Workers' Comp. Ct               wec No. 2001-0408           .6/30/03'
    .International Paper

         ~sher, Richard V.             Workers' Compo Ct                wec No. 2002-0661               6/30/03
          ternational Paper
     Sa'ker, Bruce v; .                Workers' Compo Ct                wce No. 2003-0839               11/7/03
     Transportation Ins.
   Doubek V.                           Workers' Compo Ct                WCC-2004-0979                   4/28/04
  .CNA Insurance Co.
                                                                                     .   .

    Doubek v.                          Workers'Comp. Ct                . WeC-2003~0913              4/30/04
    eNA Insurance Co.
  Paul, Claude V ..                   Workers' Co"mp.Ct                WCC-2003-0926                6/8/04
. Transportation Ins.

   Leo Gerhard                                                         02':'2-07334-4SEA            11/29/04
   Glen Kidder                                                         02-2-00544-6SEA              11/29/04

   Hertie Mercer                                                       02-2-10190-9SEA              11/29/04
  Jacob Raat                                                           02-2-27819-1 SEA             11/29/04

.)enneth Stapley                                                       03-2-23956-9SEA              11/29/04




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     --)hnson, Raymond v~ - Workers' _Comp~ Ct                                                                        WCC-2004-1 092'                 6/14/05
          " ernational Paper
          Donald Hewett                                                                                               04-2-09001-6SEA                 8/17/05
      George Johnson                                                                                                  04':2-09049-1 SEA               8/17/05
     James -Bockman                                                                                                   05-2-24780-1 SEA                12/15/05
     Roy Barne~                                                                                      --
                                                                                                                      04-2-03232-6SEA                 12/15/05 -
     Leonard Kimball                                                                                                  04-2~00-189-7SEA                12/15/05
     Leonard Kukuoka                                                                                                  03-2-20489..7SEA                12/15/05
     Jack Holden                                                                                                      03-2-37136-0SEA                 12/15/05
     -Mack v.                                                          Workers' Comp.Ct                               WCC-2006-1558                   6/20/b6
     Transportation Ins.                                                                                                                                                  - ,


     Co.
  - Hagen et al v. BNSF                                        Cascade County _                                 _DDV-03~1'06.9                        1/4/07
    Hale ,et al v. BNSF                                      .-District Court, 8 th _                          -SDV-04-006                            ~ /5/07 -
    Price et al v. BNSF                                        JudiCial Court                                   BDV-05-844                            1/6/07
          ,-                                                                                                                                          2/20/07
 IJohnson                                                         Workers' Compo Ct                              -WCCNo. 2004-1092                    8/28/08

                       We cannot be certain'
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                                             that this_is. a complete listing.




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